                 UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF NORTH CAROLINA
            Civil Action No.: 1:23-cv-00423-WO-JLW

TIMIA CHAPLIN; SARAH FIELDS; SAYELINE NUNEZ;
THOMAS HAYWARD; KEVIN SPRUILL; ROTESHA MCNEIL;
QIANA ROBERTSON; YOUSEF JALLAL; MESSIEJAH
BRADLEY; DENNIS KEITH LASSITER; PAULINO
CASTELLANOS; ROBERT LEWIS; and ALLEN SIFFORD, on
behalf of themselves and all others similarly
situated,

             Plaintiffs,

    v.

GARY L. MCFADDEN, officially as the Sheriff of
Mecklenburg County, JOHN DOE Surety, as surety
for the Sheriff of Mecklenburg County; WILLIE R.
ROWE, in his capacity as Sheriff of Wake County;
BRIAN ESTES, in his official capacity as the
Sheriff of Lee County; THE OHIO CASUALTY
INSURANCE COMPANY, as the surety for the Sheriff
of Wake County and as surety for the Sheriff of
Lee County; TYLER TECHNOLOGIES, INC.; RYAN BOYCE,
in his official capacity as the Executive
Director of the North Carolina Administrative
Office of the Courts; BRAD FOWLER, in his
official capacity as the eCourts Executive
Sponsor and Chief Business Officer of the North
Carolina Administrative Office of the Courts;
ELISA CHINN-GARY, individually and officially, as
the Mecklenburg County Clerk of Superior Court;
BLAIR WILLIAMS, in his official capacity as the
Wake County Clerk of Superior Court; SUSIE K.
THOMAS, in her official capacity as the Lee
County Clerk of Superior Court; and DOES 1
THROUGH 20, INCLUSIVE,

             Defendants.


          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
         TYLER TECHNOLOGIES, INC.’S MOTION TO DISMISS




   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 1 of 45
                         TABLE OF CONTENTS

                                                                Page

Table of Authorities ............................... iii
INTRODUCTION ......................................... 1
BACKGROUND ........................................... 3

        A.        North Carolina transitions its court
                  recordkeeping system from a paper to an
                  electronic system .......................... 3
        B.        Thirteen plaintiffs allege that they were
                  unlawfully arrested or detained ............ 4

STATEMENT OF THE QUESTIONS PRESENTED ................. 5
ARGUMENT ............................................. 5

   I.        Plaintiffs’ Negligence Claim Fails As A
             Matter Of Law ................................. 6

        A.        Tyler does not owe a duty to Plaintiffs .... 7

             1.     Tyler does not have a special-
                    relationship duty to protect
                    Plaintiffs from third parties ............ 7
             2.     Tyler has no duty to ensure end-
                    users are properly trained to use
                    its products ............................ 10

        B.        The SAC does not plausibly allege a
                  causal nexus between Tyler’s conduct and
                  Plaintiffs’ alleged injuries .............. 13

             1.     The SAC alleges that state actors
                    caused Plaintiffs’ alleged
                    injuries ................................ 13
             2.     The SAC’s reliance on outside
                    statements does not establish
                    causation ............................... 18




                                -i-

Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 2 of 45
                       TABLE OF CONTENTS
                          (continued)
                                                                Page
           3.     References to other states do not
                  link alleged harm to Tyler and are
                  irrelevant .............................. 20

      C.        Plaintiffs’ failure-to-warn claim also
                fails ..................................... 21

   II. Plaintiffs’ Class Claim Against Tyler
       Fails As A Matter of Law ..................... 24

      A.        Plaintiffs cannot meet the Rule 23(a)
                requirements of commonality or typicality . 27
      B.        Plaintiffs cannot meet the more stringent
                Rule 23(b)(3) requirements ................ 31

CONCLUSION .......................................... 34
CERTIFICATE OF COMPLIANCE ........................... 36
CERTIFICATE OF SERVICE .............................. 37




                              -ii-

Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 3 of 45
                        TABLE OF AUTHORITIES

                                                                 Page(s)
Cases

Abbott v. Am. Elec. Power, Inc.,
  No. 2:12-CV-00243, 2012 WL 3260406 (S.D.W. Va. Aug.
  8, 2012) ............................................ 32, 34

Amchem Prod., Inc. v. Windsor,
  521 U.S. 591 (1997) ..................................... 32

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ................................... 3, 5

Blackwell v. Hatley,
  202 N.C. App. 208, 688 S.E.2d 742 (2010) ................. 6

Bond v. Marriott Int’l, Inc.,
  296 F.R.D. 403 (D. Md. 2014) ............................ 27

Bryant v. Adams,
  116 N.C. App. 448, 448 S.E.2d 832 (1994) ................ 22

Cahoon v. Edward Orton, Jr. Ceramic Found.,
  No. 2:17-CV-63-D, 2020 WL 918753 (E.D.N.C. Feb. 24,
  2020) ................................................... 24

City of High Point, N. Carolina v. Suez Treatment
  Sols. Inc.,
  485 F. Supp. 3d 608 (M.D.N.C. 2020) ................. 22, 23

Deiter v. Microsoft Corp.,
  436 F.3d 461 (4th Cir. 2006) ............................ 28

Derwort v. Polk Cnty.,
  129 N.C. App. 789, 501 S.E.2d 379 (1998) .............. 6, 7

Driver v. Marion Cnty. Sheriff,
  No. 1:14-cv-2076, (S.D. Ind. May 13, 2015) .............. 21

Finch v. Covil Corp.,
  388 F. Supp. 3d 593 (M.D.N.C. 2019), aff’d, 972
  F.3d 507 (4th Cir. 2020) ............................ 23, 24


                                 -iii-

    Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 4 of 45
Fontenot v. TASER Int’l, Inc.,
  No. 3:10CV125-RJC-DCK, 2011 WL 2535016 (W.D.N.C.
  June 27, 2011) .......................................... 24

Foster v. Crandell,
  181 N.C. App. 152, 638 S.E.2d 526 (2007) ................ 12

Gariety v. Grant Thornton, LLP,
  368 F.3d 356 (4th Cir. 2004) ........................ 31, 32

General Tel. Co. of the Southwest v. Falcon,
  457 U.S. 147 (1982) ..................................... 27

Harris v. Daimler Chrysler Corp.,
  180 N.C. App. 551, 638 S.E.2d 260 (2006) ................ 10

King v. Durham Cnty. Mental Health Developmental
  Disabilities & Substance Abuse Auth.,
  113 N.C. App. 341, 439 S.E.2d 771 (1994) ................. 7

Kirkman v. N. Carolina R.R. Co.,
  220 F.R.D. 49 (M.D.N.C. 2004) ....................... 29, 31

Lamb v. Styles,
  263 N.C. App. 633, 824 S.E.2d 170 (2019) ............ 13, 20

Layani v. Ouazana,
  No. CV ELH-20-420, 2021 WL 805405 (D. Md. Mar. 3,
  2021) ............................................... 25, 26

Lienhart v. Dryvit Sys., Inc.,
  255 F.3d 138 (4th Cir. 2001) ............................ 27

Nance v. Rowan-Salisbury Bd. of Educ.,
  336 F. Supp. 3d 593 (M.D.N.C. 2018) ................. 11, 12

Nomani v. Qarni,
  No. 1:22-cv-1065, 2023 WL 4203438 (E.D. Va. June
  27, 2023) ............................................... 18

Painter’s Mill Grille, LLC v. Brown,
  716 F.3d 342 (4th Cir. 2013) ...................... 5, 6, 18

Parks Auto. Grp., Inc. v. Gen. Motors Corp.,
  237 F.R.D. 567 (D.S.C. 2006) ............................ 32

                                 -iv-

    Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 5 of 45
Pennsylvania Nat’l Mut. Cas. Ins. Co. v. STIHL Inc.,
  No. 7:23-CV-00018-M, 2023 WL 5029142 (E.D.N.C. Aug.
  7, 2023) ................................................ 22

Presnell v. Snap-On Securecorp, Inc.,
  583 F. Supp. 3d 702 (M.D.N.C. 2022) ................. 22, 23

Sauers v. Winston-Salem/Forsyth Cnty. Bd. of Educ.,
  179 F. Supp. 3d 544 (M.D.N.C. 2016) ................. 11, 12

Scadden v. Holt,
  222 N.C. App. 799, 733 S.E.2d 90 (2012) ................. 10

Stein v. Asheville City Bd. Of Educ.,
  360 N.C. 321, 626 S.E.2d 263 (2006) .............. 9, 10, 28

Stone St. Partners, LLC v. Williamson,
  No. 17 CVS 15265, 2018 WL 3619518 (N.C. Super. July
  26, 2018) ............................................ 9, 10

Talley v. Pride Mobility Prod. Corp.,
  259 N.C. App. 734, 816 S.E.2d 533 (2018) ............ 24, 27

Thorn v. Jefferson-Pilot Life Ins. Co.,
  445 F.3d 311 (4th Cir. 2006) ........................ 32, 33

Wal-Mart Stores, Inc. v. Dukes,
  564 U.S. 338 (2011) ..................................... 27

Williams v. Potomac Fam. Dining Grp. Operating Co.,
  No. GJH-19-1780, 2020 WL 4207589 (D. Md. July 22,
  2020) ................................................... 25

Williamson v. Liptzin,
  141 N.C. App. 1, 539 S.E.2d 313 (2000) .................. 13


Statute

N.C. Gen. Stat. § 99B-5(a) ........................... 22, 23


Other Authorities

24 N.C. Index 4th Products Liability § 14 ................ 24


                                  -v-

    Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 6 of 45
Michelle Boudin, ‘It’s kind of like the rapture’;
  Concerns ahead of changes at the court, WDNC
  Charlotte (Feb. 8, 2023), https://bit.ly/3QJiFkt ........ 19

Restatement (Second) of Torts § 315 ....................... 9

Wright & Miller, 7AA Fed. Prac. & Proc. Civ. § 1778
  (3d ed.) ................................................ 32

Rules

Fed. R. Civ. P. 12(b)(6) ................................. 25

Fed. R. Civ. P. 23 .................................... 2, 25

Fed. R. Civ. P. 23(a) ............................ 26, 27, 31

Fed. R. Civ. P. 23(a)(2) ................................. 27

Fed. R. Civ. P. 23(a)(3) ................................. 27

Fed. R. Civ. P. 23(b)(3) ............................. 26, 31

M.D.N.C. Local Rule 23.1(d) .............................. 25




                                 -vi-

    Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 7 of 45
                            INTRODUCTION

    Plaintiffs’ broad, conclusory statements about the

North Carolina eCourts system do not state a legal claim

against Defendant Tyler Technologies (“Tyler”). Pointing to

a handful of matters out of tens of thousands that were

migrated to eCourts, Plaintiffs’ Second Amended Complaint

(“SAC”) claims systemic problems with how the eCourts

software was used by government actors. But Plaintiffs have

no plausible factual allegations supporting their sole

claim against Tyler, for negligence, as either an

individual or a class claim.

    First, Tyler has no duty to protect Plaintiffs from

their alleged injuries because there is no special

relationship between Tyler and Plaintiffs. The SAC

attributes Plaintiffs’ alleged injuries to use of the

eCourts software. But Tyler was a software vendor; other

parties used the software. And neither Plaintiffs’ failure-

to-train theory, nor the contract between Tyler and the

North Carolina Administrative Office of the Courts

(“NCAOC”), creates a legal duty owed by Tyler to

Plaintiffs.




                                 -1-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 8 of 45
    Second, Plaintiffs cannot show proximate cause as a

matter of law. Plaintiffs allege multiple, intervening

factors related to the allegedly unlawful arrests or

detentions that do not involve Tyler. These intervening

acts break the causal chain and defeat the negligence claim

against Tyler.

    Plaintiffs’ cursory failure-to-warn theory does not

rectify their duty and causation problems. This theory also

fails because there are no allegations that the eCourts

software is a dangerous product or that inadequate warnings

caused the alleged injuries.

    Problems with individual claims aside, Plaintiffs’

class allegations fail as a matter of law and should be

dismissed on the pleadings. The only way to determine

whether a class member suffered injury, i.e., was arrested

or detained unlawfully, is through individualized inquiry.

No evidence uncovered in discovery could change this. The

need for these individualized inquiries means Plaintiffs

cannot satisfy the Rule 23 requirements of commonality,

typicality, and predominance as a matter of law.

    Armed with “nothing more than conclusions,” Plaintiffs

cannot “unlock the doors of discovery” for their individual


                                 -2-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 9 of 45
or class claims. Ashcroft v. Iqbal, 556 U.S. 662, 678-79

(2009). This case should be dismissed.

                             BACKGROUND

    Plaintiffs filed their original complaint on May 23,

2023, ECF No. 1, and the First Amended Complaint in October

2023, ECF No. 30. Plaintiffs filed the SAC on February 28,

2024. The SAC adds new plaintiffs and defendants, but does

not cure the material defects that have been present from

the start.

    A.    North Carolina transitions its court recordkeeping
          system from a paper to an electronic system.

    Prior to modernizing its court system, North Carolina

experienced recordkeeping difficulties with its paper-based

system. SAC ¶ 54. After years of work, and bids by multiple

vendors, a selection committee chose Tyler to implement an

electronic system to improve the recordkeeping deficiencies

in the court system. SAC ¶¶ 65, 68. In Tyler’s contract

with the NCAOC, Tyler agreed to license an “eCourts”

software package, including a case-management system

(“Odyssey”), and a software application for requesting and

processing warrants (“eWarrants”). SAC ¶¶ 70-71.

    Tyler is a software vendor. Tyler licenses its

software, assists in implementing that software so that its

                                  -3-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 10 of 45
clients can operate it in live production, and provides

maintenance and support to triage performance issues and

answer end-user questions. SAC ¶¶ 70-71; ECF No. 77-2 at 6-

15, 19-20.

    Tyler is not responsible for the day-to-day use of the

software. See SAC ¶¶ 70-71. Tyler does not generate or own

the data entered into, stored in, or processed through the

software. SAC ¶¶ 70-71; see also ECF No. 77-2 at 6-15, 19-

20. Those responsibilities fall to the software’s end-

users, such as the state officials who input records and

update the system with real-time information. SAC ¶¶ 13-29,

70-71, 313-14; see also ECF No. 77-3 at 3–4.

    During the Odyssey implementation in four pilot

counties (including Wake and Lee), Tyler and NCAOC worked

to resolve software issues while the counties transitioned

around 50,000 paper-based records. SAC ¶¶ 77-78; see also

ECF No. 77-3 at 4-5. Following the pilot program,

Mecklenburg County went into live production on Odyssey in

October 2023. SAC ¶ 89.

    B.    Thirteen plaintiffs allege that they were
          unlawfully arrested or detained.

    Despite alleging that the transition to eCourts

resulted in “hundreds of people” being “unlawfully

                                  -4-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 11 of 45
detained,” SAC ¶ 1, the SAC names only thirteen plaintiffs

(out of thousands of matters) who allegedly experienced

issues. Plaintiffs allege that they were unlawfully

arrested or detained by third parties - officials in Wake,

Mecklenburg, Lee, Gaston, and Guilford counties. See

SAC ¶¶ 101-228. Plaintiffs do not identify all relevant

state actors, much less name them as defendants.

             STATEMENT OF THE QUESTIONS PRESENTED

  1. Whether Plaintiffs fail to state a negligence claim

    against Tyler.

  2. Whether Plaintiffs’ class-action allegations against

    Tyler fail to state a claim.

                               ARGUMENT

    Dismissal is warranted if a complaint does not “contain

sufficient factual matter, accepted as true, to state a

claim for relief that is plausible on its face.” Iqbal, 556

U.S. at 678 (cleaned up). “It is now well established that

mere conclusory and speculative allegations are not

sufficient to withstand a motion to dismiss.” Painter’s




                                  -5-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 12 of 45
Mill Grille, LLC v. Brown, 716 F.3d 342, 350 (4th Cir.

2013).

      Plaintiffs’ threadbare recital of the elements of

negligence lacks the factual allegations necessary to

sustain a claim against Tyler. Their class-action

allegations fare no better. This Court should dismiss the

claim against Tyler with prejudice.

I.    Plaintiffs’ Negligence Claim Fails As A Matter Of Law.

      To survive a motion to dismiss, a plaintiff must allege

sufficient facts to establish each element of negligence,

including duty and causation. Derwort v. Polk Cnty., 129

N.C. App. 789, 791, 501 S.E.2d 379, 381 (1998); Blackwell

v. Hatley, 202 N.C. App. 208, 212, 688 S.E.2d 742, 746

(2010). Plaintiffs have not adequately alleged that Tyler

owed a duty to Plaintiffs or that Tyler proximately caused

Plaintiffs’ alleged injuries. Tacking on a failure-to-warn

claim does not remedy those deficiencies. And that claim

requires Plaintiffs to plead additional elements lacking

here. Despite amending twice, Plaintiffs have not remedied

these deficiencies – because they cannot.




                                    -6-

     Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 13 of 45
    A.    Tyler does not owe a duty to Plaintiffs.

    If a defendant owes no duty to the plaintiff, then

there can be “no liability for negligence.” Derwort, 129

N.C. App. at 791, 501 S.E.2d at 381. Tyler owed no duty to

protect Plaintiffs from the harm alleged – arrest and

detention by state actors.

    In general, a defendant has no duty to protect a

plaintiff against harm from third persons unless there is a

recognized special-relationship exception. King v. Durham

Cnty. Mental Health Developmental Disabilities & Substance

Abuse Auth., 113 N.C. App. 341, 345, 439 S.E.2d 771, 774

(1994). In North Carolina, these special relationships are

limited to a few exceptions, such as parent-child or

landowner-licensee. Id. at 346, 439 S.E.2d at 774.

Otherwise, there is no duty related to third-party actions.

Id. at 345-46, 439 S.E.2d at 774.

          1.   Tyler does not have a special-relationship
               duty to protect Plaintiffs from third parties.

    Plaintiffs have not, and cannot, plead a legally

recognized duty. Plaintiffs broadly allege that Tyler

voluntarily assumed a duty “to ensure that its eCourts

system...would operate properly.” SAC ¶¶ 239-40. Plaintiffs

also allege that Tyler’s contractual obligations to NCAOC

                                  -7-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 14 of 45
are somehow owed to Plaintiffs. SAC ¶¶ 240-42. Tyler is

unaware of any cases recognizing a special-relationship

duty under similar circumstances.

       Tyler is a software vendor that licensed the software

and assisted with its implementation. SAC ¶ 71. As the SAC

alleges, various government authorities actually use the

software for daily operations, input data into the

software, and act on the inputs. For example, the SAC

alleges that the government authorities are responsible

for:

          “ensuring that court papers are properly issued,”

           SAC ¶¶ 15, 21, 27;

          “maintain[ing] accurate electronic case records,”

           SAC ¶ 318;

          “identify[ing] and or remov[ing] invalid warrants

           from Odyssey and eWarrants, confirm[ing] that

           arrest orders...were not issued in error, and

           ensur[ing] that release orders were properly

           effectuated,” id.,

          “[e]xecuting all clerical and record-keeping

           functions,” “[i]ssuing arrest orders and




                                  -8-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 15 of 45
          warrants,” and “[d]igitizing paper court records,”

          SAC ¶ 313.

Ultimately, it was government authorities who allegedly

arrested or detained Plaintiffs. All these actions are

outside of Tyler’s control.

    Plaintiffs’ claim, then, is that Tyler had a legal duty

to protect Plaintiffs against third-party harm. SAC ¶ 239.

But because Tyler owes no special-relationship duty,

Plaintiffs’ negligence claim fails as a matter of law.

    Plaintiffs also do not request a new special-

relationship exception. North Carolina courts “recognize

that the special relationship exception is in derogation of

the general principle that ‘[t]here is no duty to control

the conduct of a third person so as to prevent him from

causing’” harm to another. Stone St. Partners, LLC v.

Williamson, No. 17 CVS 15265, 2018 WL 3619518, at *7 (N.C.

Super. July 26, 2018) (quoting Restatement (Second) of

Torts § 315, which surveys North Carolina’s reported

decisions on the exception). Courts cannot recognize new

special-relationship exceptions based on an alleged failure

to prevent harm caused by third parties. See Stein v.




                                  -9-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 16 of 45
Asheville City Bd. Of Educ., 360 N.C. 321, 330, 626 S.E.2d

263, 269 (2006); Stone St., 2018 WL 3619518, at *7.

    North Carolina also does not appear to have recognized

“the existence of a special relationship in circumstances

other than those in which the plaintiff was alleged to have

suffered a physical injury.” Stone St., 2018 WL 3619518, at

*6 (surveying North Carolina decisions). The special-

relationship cases turn on both the ability of a third

party to control the tortfeasor, and “knowledge of the

person’s propensity for violence.” Harris v. Daimler

Chrysler Corp., 180 N.C. App. 551, 556, 638 S.E.2d 260, 265

(2006); see also Scadden v. Holt, 222 N.C. App. 799, 806,

733 S.E.2d 90, 95 (2012). Plaintiffs do not allege any

physical injuries here. That provides an independent reason

to conclude that no duty exists.

          2.   Tyler has no duty to ensure end-users are
               properly trained to use its products.

    After Tyler argued in its prior motions to dismiss that

Plaintiffs cannot establish duty, Plaintiffs try a new

tactic in the SAC – claiming that Tyler had a duty to

ensure that state actors were properly trained on how to

use eWarrants and Odyssey. SAC ¶ 241d. This tactic also

fails. Tyler is unaware of any North Carolina cases

                                 -10-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 17 of 45
recognizing a generalized or special duty based on failure

to train. To the extent Plaintiffs are alleging a separate

claim for negligent training under North Carolina law, that

claim fails.

    “Claims of negligent supervision and training are

grounded in active negligence by the employer.” Nance v.

Rowan-Salisbury Bd. of Educ., 336 F. Supp. 3d 593, 597

(M.D.N.C. 2018) (cleaned up) (emphasis added). To establish

a negligent-training claim, a plaintiff must allege: (1)

the specific negligent act on which the claim is founded;

(2) incompetency, by inherent unfitness or prior negligent

acts; (3) actual or constructive notice of such unfitness

or bad habits; and (4) that the incompetency caused the

injury. Id. “[O]nly cases involving notoriously unsuitable

employees or allegations of misconduct repeatedly ignored

by an employer have met these elements.” Sauers v. Winston-

Salem/Forsyth Cnty. Bd. of Educ., 179 F. Supp. 3d 544, 556

(M.D.N.C. 2016).

    Plaintiffs’ claim fails first and foremost because

Tyler is not the employer of the state actors. Allegations

outside of the employer-employee context are not “within

the purview of a claim for negligent supervision and


                                 -11-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 18 of 45
training.” Sauers, 179 F. Supp. 3d at 556 n. 10; Foster v.

Crandell, 181 N.C. App. 152, 171, 638 S.E.2d 526, 539

(2007).

    The SAC also fails on the remaining elements. Apart

from the conclusory allegation that Tyler had a duty to

“ensure end-users of eCourts were properly trained on how

to use” eCourts, SAC ¶ 241d, there are no allegations that

Tyler was negligent in training any end-users. Indeed,

there are no allegations as to what deficient training

Tyler did or did not provide, or how it caused any harm.

See Sauers, 179 F. Supp. 3d at 556-57 (dismissing negligent

training claim when plaintiff failed to allege how training

was deficient or how it related to the alleged injury);

Nance, 336 F. Supp. 3d at 597.

    Nor are there any allegations that any end-users – the

other Defendants and various unnamed state actors – were

incompetent.

    Finally, the SAC alleges no facts suggesting that Tyler

knew or should have known of a need for specific training

or of the unsuitability of any end-users. See Sauers, 179

F. Supp. 3d at 557. To the contrary, Plaintiffs allege –

without specific factual allegations – that state actors


                                 -12-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 19 of 45
(not Tyler) were responsible for and failed to train their

employees on eCourts. See, e.g., SAC ¶¶ 13, 231h, 262, 277

(Sheriff McFadden); ¶¶ 19, 283, 293 (Sheriff Rowe); ¶ 25

(Sheriff Estes); ¶ 231j (Defendant Clerks). As Plaintiffs

cannot plead duty as a matter of law, their negligence

claim against Tyler fails.

    B.    The SAC does not plausibly allege a causal nexus
          between Tyler’s conduct and Plaintiffs’ alleged
          injuries.

    Plaintiffs’ claim against Tyler also fails because

Plaintiffs cannot show proximate cause as a matter of law.

    To state a negligence claim, the defendant’s act must

be the proximate cause of the plaintiff’s alleged injury.

Lamb v. Styles, 263 N.C. App. 633, 645, 824 S.E.2d 170, 179

(2019); Williamson v. Liptzin, 141 N.C. App. 1, 10, 539

S.E.2d 313, 319 (2000). A cause is not proximate if there

are intervening causes or the relationship between cause

and effect is too attenuated. Williamson, 141 N.C. App. at

10-11, 539 S.E.2d at 319-20.

          1.   The SAC alleges that state actors caused
               Plaintiffs’ alleged injuries.

    The allegations here point to the conduct of many state

actors – not Tyler. State actors arrested and detained

Plaintiffs. See, e.g., SAC ¶ 243. And the responsibility

                                 -13-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 20 of 45
for entering pertinent information into the eCourts system

was the responsibility of the end-users who operate the

software day-to-day. See, e.g., SAC ¶¶ 15-16, 21-22, 27-28,

313. No well-pleaded allegation links any action by Tyler,

as a software vendor, to Plaintiffs’ harm.

    Plaintiffs’ generalized allegations acknowledge that

each county’s Judicial Services Division is “responsible

for all criminal process including” warrants and processing

any court documents related to “warrant services.”

See SAC ¶¶ 14-16, 22, 28. And Plaintiffs also acknowledge

that the Clerks of Court are responsible for “executing all

clerical and record-keeping functions; issuing arrest

orders and warrants, including for ‘failures to appear’;

digitizing paper court records; [and] ensuring that release

orders are properly effectuated.” SAC ¶ 313 (cleaned up).

These are the actions that Plaintiffs allege caused their

injuries.

    The Mecklenburg County allegations exemplify the SAC’s

causal deficiencies as to Tyler. Plaintiffs allege that

unidentified state actors arrested Plaintiffs Fields,

Nunez, and Hayward. SAC ¶¶ 101-02, 109-10, 117-18.

Plaintiffs allege that, despite obtaining release orders,


                                 -14-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 21 of 45
these Plaintiffs were held overnight. SAC ¶¶ 104-06, 112-14

120-23. Plaintiffs expressly allege that this alleged

unlawful overdetention was the “direct and proximate

result” of Defendant McFadden’s “policies, customs,

practices, omissions, and failures to train...his employees

on...how to use [eCourts] to ensure that individuals were

timely released from detention.” SAC ¶¶ 260, 275-79.

    The other Plaintiffs’ allegations fare no better.

Indeed, all Plaintiffs allege that their harm resulted as

“a direct and proximate result of the Sheriff Defendants’

negligence.” SAC ¶ 256.

    In Mr. Castellanos’ case, for example, Plaintiffs

originally alleged that his detention was prolonged because

there was no available electronic monitoring device, which

has nothing to do with Tyler or eCourts. ECF No. 1, ¶¶ 84-

85. He now alleges that his detention was prolonged because

Defendant Thomas failed to digitize “paper court records,”

and ensure “release orders are properly effectuated.”

SAC ¶ 313. Plaintiffs admit that Odyssey properly generated

a case number for Mr. Castellanos when court staff input

his information. SAC ¶ 208. The transition to Odyssey thus

allowed him to move for a bond reduction in the first


                                 -15-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 22 of 45
place. SAC ¶ 209. The allegations do not tie the alleged

harm to Tyler’s conduct.

    Plaintiff Lewis does not even live in a County where

eCourts has gone live, SAC ¶¶ 50, 213, and he objects to

the failure of unnamed state defendants to dissolve a

restraining order from 2016 – long before eCourts was

implemented, SAC ¶¶ 214-16. No allegation ties this to

eCourts, much less Tyler.

    Plaintiff Spruill alleges his detention was caused by

the failure of the Wake County Sheriff’s Office to correct

an invalid warrant, not because of eCourts. SAC ¶¶ 132-35.

Indeed, once the Wake County Clerk updated his file in

eCourts, he was released. SAC ¶ 137.

    Likewise, Plaintiff McNeil attributes her detention to

state actors entering a failure-to-appear charge in error,

SAC ¶ 150, which does not involve Tyler. She alleges that

Odyssey reflected that her case was disposed after

correction, SAC ¶ 151, but an employee of the Wake County

Sheriff’s Office mistakenly informed officers that the

warrant was valid, SAC ¶ 154. Wake County officials later

conceded that the warrant “should have been recalled from

the electronic system.” SAC ¶ 157.


                                 -16-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 23 of 45
    Similarly, the SAC alleges that the remaining

Plaintiffs’ injuries resulted from state actors – some

unidentified – and not because of actions controlled by

Tyler. See, e.g., SAC ¶¶ 160-69 (alleging Robertson was

arrested because her court date was “Reset by Court,” even

when her continuance “was reflected in Odyssey”), ¶¶ 170-77

(alleging Jallal’s case was “incorrectly designated” by

unidentified actors but that no one entered the dismissal

into Odyssey), ¶¶ 178-85 (alleging Bradley’s paperwork was

submitted but not that it was filed and noting that Odyssey

was updated to reflect dismissal), ¶¶ 186-201(alleging that

Wake County state actors detained Lassiter because of two

invalid warrants), ¶¶ 220-28 (alleging that unidentified

officers arrested Sifford because of an invalid warrant),

¶¶ 139-46 (attributing the failure to confirm the validity

of Chaplin’s warrant to Sheriff Rowe and arresting

officers).

    In short, Plaintiffs attribute their alleged injuries

to third-party state actors that Tyler does not control. No

well-pleaded allegations demonstrate a causal nexus between

Tyler and the injuries Plaintiffs allege.




                                 -17-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 24 of 45
          2.   The SAC’s reliance on outside statements does
               not establish causation.

    Plaintiffs try to cure these defects by relying on

outside statements about eCourts. But there are no well-

pleaded allegations supporting these statements, making

them no more than innuendo and speculation insufficient to

support a claim. See Painter’s Mill Grille, 716 F.3d at

350; Nomani v. Qarni, No. 1:22-cv-1065, 2023 WL 4203438, at

*2 (E.D. Va. June 27, 2023).

    For example, Plaintiffs allege that Defendant NCAOC had

unspecified internal communications concerning “179

warrants [that] were ‘inadvertently deleted’.” SAC ¶ 86.

But Plaintiffs do not allege who deleted the warrants and

do not allege that the deletion was done spontaneously by

software – as opposed to inadvertent entries by the

software users. Plaintiffs also do not allege who the

warrants were for, or whether any state actors arrested or

detained anyone based on these warrants. See SAC ¶¶ 83-87.

Thus, nothing ties this statement to any claim in the SAC.

    Plaintiffs also highlight Judge Trosch’s email to court

personnel about an alleged “integration issue” in eCourts.

SAC ¶ 91. But the email states this was a problem only if

magistrates and clerks do not update the system, or if the

                                 -18-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 25 of 45
magistrate fails to look under the correct tab. See ECF No.

77-4. And the SAC does not tie this alleged “integration

issue” to any alleged harm.

    Finally, Plaintiffs quote Mecklenburg County’s chief

information officer suggesting that defects delayed the

rollout. SAC ¶ 74. But the SAC omits that this statement

was made in August 2021, long before eCourts went live in

any county and long before the events alleged in the SAC.

See Michelle Boudin, ‘It’s kind of like the rapture’;

Concerns ahead of changes at the court, WDNC Charlotte

(Feb. 8, 2023), https://bit.ly/3QJiFkt. The SAC does not

tie this statement to the live operation of eCourts.

    Plaintiffs also allege that sixty-six people were

detained in Mecklenburg County following the launch of

eCourts. SAC ¶ 92. This allegation again lacks sufficient

details, and the SAC does not allege that Tyler was somehow

responsible for these detentions. See SAC ¶ 92.

    These smokescreen statements do not pertain to

Plaintiffs, and they do not cure Plaintiffs’ proximate-

cause problem.




                                 -19-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 26 of 45
          3.   References to other states do not link alleged
               harm to Tyler and are irrelevant.

    Unable to manufacture facially plausible allegations

tying Tyler to the harm alleged here, Plaintiffs point to

other states where (according to Plaintiffs) there were

issues during the transition to a Tyler system. See

SAC ¶ 97. But even if Plaintiffs had accurately described

the implementations in these other states (and they have

not), those examples cannot establish proximate cause for

these Plaintiffs in North Carolina. To survive the pleading

stage, the allegations must explain “how Defendants’

conduct was the proximate cause of Plaintiffs’ damages.”

Lamb, 263 N.C. App. at 646, 824 S.E.2d at 180 (emphasis

added).

    Beyond that dispositive defect, these allegations about

other software implementations do not link Tyler’s software

to the alleged errors. Indeed, many of Plaintiffs’ own

examples decouple Tyler’s actions from any alleged errors.

    For example, Plaintiffs fault an Indiana sheriff for

acquiring “a jail-management software that was incompatible

with Odyssey.” SAC ¶ 97g. The acquisition of a different

software product has nothing to do with Tyler. And the

referenced complaint focuses not only on non-Tyler

                                 -20-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 27 of 45
software, but also on an individualized spot-check policy

that has no relevance here. See Complaint, Driver v. Marion

Cnty. Sheriff, No. 1:14-cv-2076, ECF No. 38 (S.D. Ind. May

13, 2015) ¶¶ 100, 102, 108 (attached Exhibit A). Tyler was

not a defendant in that case or settlement. See id. An

Indiana sheriff, deploying a different software and an

individualized spot-check policy, has nothing to do with

Tyler’s software or actions in North Carolina.

    Plaintiffs’ other examples similarly deal with

different states and actors implementing different systems,

sometimes more than ten years ago. See SAC ¶ 97. These

stale allegations have nothing to do with software

configured for North Carolina, deployed in North Carolina

and operated by North Carolina officials. E.g., SAC ¶ 71;

ECF No. 77-2; ECF No. 77-3.

    C.    Plaintiffs’ failure-to-warn claim also fails.

    Plaintiffs allege a failure-to-warn theory in a single,

conclusory paragraph. SAC ¶ 246. This claim fails for

several reasons, each of which provides independent grounds

to dismiss the claim.

    First, a failure-to-warn claim based on negligence must

plausibly allege all the essential elements of negligence.


                                 -21-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 28 of 45
Bryant v. Adams, 116 N.C. App. 448, 465, 448 S.E.2d 832,

841 (1994). Plaintiffs’ failure to adequately plead duty

and causation thus also dooms this claim. Supra Part I.A-B.

    Second, a failure-to-warn theory is limited to products

that are “unreasonably dangerous” or “pose a substantial

risk of harm.” N.C. Gen. Stat. § 99B-5(a). Not only must a

plaintiff allege that the defendant’s negligence caused the

injury, but they must specifically plead that the product

posed such a danger that the defendant had to issue a

warning in the first place, and that the failure to warn

caused the injury. See Pennsylvania Nat’l Mut. Cas. Ins.

Co. v. STIHL Inc., No. 7:23-CV-00018-M, 2023 WL 5029142, at

*3 (E.D.N.C. Aug. 7, 2023).

    For example, this Court has dismissed failure-to-warn

claims when the plaintiff failed to plausibly allege that

the failure to warn “played any role” in the decision to

use the product and only made conclusory allegations that

it caused harm. See, e.g., Presnell v. Snap-On Securecorp,

Inc., 583 F. Supp. 3d 702, 710 (M.D.N.C. 2022); City of

High Point, N. Carolina v. Suez Treatment Sols. Inc., 485

F. Supp. 3d 608, 632–33 (M.D.N.C. 2020).




                                 -22-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 29 of 45
    The SAC contains no allegations about what warnings

were provided or how those warnings were inadequate.

Plaintiffs make only the conclusory statement that Tyler

“acted unreasonably in failing to warn,” and that this

failure was a proximate cause of Plaintiffs’ harms.

SAC ¶ 246. This Court recently dismissed a failure-to-warn

claim where the complaint relied on nearly identical,

generalized allegations. See Suez Treatment Solutions, 485

F. Supp. 3d at 632-33. Because the SAC “fails to

demonstrate more than a sheer possibility that a defendant

has acted unlawfully,” the Court should dismiss this claim.

See id.; see also Presnell, 583 F. Supp. 3d at 709-10.

    Third, the SAC also does not plausibly allege that

eCourts posed a substantial risk of harm without an

adequate warning or that North Carolina courts have ever

required a similar warning for software or technology

products. In North Carolina, a failure-to-warn claim

applies only to products that are “unreasonably dangerous”

or that pose a “substantial risk of harm.” See, e.g., N.C.

Gen. Stat. § 99B-5(a) (emphasis added). This is a high bar

and this showing has been met by products like asbestos,

equipment explosives, and lethal Tasers. Finch v. Covil


                                 -23-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 30 of 45
Corp., 388 F. Supp. 3d 593, 604 (M.D.N.C. 2019), aff’d, 972

F.3d 507 (4th Cir. 2020); Talley v. Pride Mobility Prod.

Corp., 259 N.C. App. 734, 816 S.E.2d 533 (2018); Fontenot

v. TASER Int’l, Inc., No. 3:10CV125-RJC-DCK, 2011 WL

2535016, at *2 (W.D.N.C. June 27, 2011). The SAC does not

allege facts to support expanding this cause of action to

software.

    Finally, the SAC also lacks allegations of how a

substantial risk was created by an inadequate warning. An

alleged failure to properly enter information into eCourts

is a generalized, apparent risk for which Tyler is not

liable. See, e.g., Cahoon v. Edward Orton, Jr. Ceramic

Found., No. 2:17-CV-63-D, 2020 WL 918753, at *8 (E.D.N.C.

Feb. 24, 2020) (holding a seller or manufacturer cannot be

held liable for “generalized hazards”); 24 N.C. Index 4th

Products Liability § 14 (same and collecting authority).

II. Plaintiffs’ Class Claim Against Tyler Fails As A Matter
    of Law.

    Plaintiffs’ failure to state a negligence claim means

the entire SAC should be dismissed as to Tyler. But, at a

minimum, the class allegations against Tyler should be

dismissed.




                                 -24-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 31 of 45
    Under Rules 12(b)(6) and 23, dismissal of class claims

is proper “when it is clear from the face of the complaint

that...the plaintiff has failed to properly allege facts

sufficient to make out a class or could establish no facts

to make out a class.” Layani v. Ouazana, No. CV ELH-20-420,

2021 WL 805405, at *39 (D. Md. Mar. 3, 2021) (cleaned up).

“In other words, in such circumstances a court applies the

familiar standard embodied in Rule 12(b)(6) to determine

whether the pleadings plausibly allege a class.” Id.;

Williams v. Potomac Fam. Dining Grp. Operating Co., No.

GJH-19-1780, 2020 WL 4207589, at *12 (D. Md. July 22,

2020); LR 23.1(d).

    The SAC seeks three different classes – but only two

against Tyler. Compare SAC ¶ 229, with SAC ¶¶ 237-336. The

“Overdetention Class” is defined as individuals who were

allegedly unlawfully detained for “more than two (2) hours

after the basis for their detention ended.” SAC ¶ 229. The

“Wrongful Arrest Class” is defined as individuals who were

allegedly unlawfully arrested or detained. SAC ¶ 229. The

only claim against Tyler is a negligence claim for money

damages. SAC ¶¶ 237-46. Accordingly, the allegations

against the other Defendants – including the allegations


                                 -25-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 32 of 45
relating to alleged constitutional violations, see, e.g.,

SAC ¶¶ 231(a)-(g) – cannot be considered in deciding

whether class claims are properly pleaded as to Tyler.

    Assessing whether the proposed classes against Tyler

may proceed is a two-step analysis. Layani, 2021 WL 805405,

at *39. First, does the putative class meet the elements of

Rule 23(a), including commonality and typicality? Id.

Second, does the class satisfy the Rule 23(b)(3)

requirement that common questions predominate over

individual inquiries?

    The only injury Plaintiffs allege is unlawful arrest or

unlawful detention. Individualized inquiries will be needed

for each class member to determine not only whether the

class member was arrested or detained, but whether that

arrest or detention was unlawful. The need for these

individualized inquiries prevents Plaintiffs from

satisfying either step. As there is nothing Plaintiffs

could uncover in discovery that would alleviate the need

for these individualized inquiries, dismissal of the class

claims is warranted now.




                                 -26-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 33 of 45
    A.    Plaintiffs cannot meet the Rule 23(a) requirements
          of commonality or typicality.

    The Rule 23(a)(2) commonality requirement requires the

plaintiff to demonstrate that the class members have

“suffered the same injury.” Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 350 (2011); see also Bond v. Marriott Int’l,

Inc., 296 F.R.D. 403, 407 (D. Md. 2014). Bringing the same

cause of action or alleging a violation of the same

provision of law is not enough. Dukes, 564 U.S. at 350. The

common questions, capable of class-wide resolution, “must

be dispositive and over-shadow other issues.” Lienhart v.

Dryvit Sys., Inc., 255 F.3d 138, 146 (4th Cir. 2001);

Dukes, 564 U.S. at 350.

    Similarly, but additionally, the named plaintiffs’

claims must be “typical of the claims or defenses of the

class.” Fed. R. Civ. P. 23(a)(3). Typicality requires that

the class claims arise “from the same event or practice or

course of conduct,” Talley v. ARINC, Inc., 222 F.R.D. 260,

268 (D. Md. 2004), and “a class representative

must...possess the same interest and suffer the same injury

as the class members,” General Tel. Co. of the Southwest v.

Falcon, 457 U.S. 147, 156 (1982) (citation omitted); see




                                 -27-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 34 of 45
also Deiter v. Microsoft Corp., 436 F.3d 461, 466 (4th Cir.

2006).

    In prior briefing, and in the SAC, Plaintiffs argue

that there are common questions about whether Tyler owed a

cognizable duty, breached that duty, or proximately caused

damages. See SAC ¶ 231(k)-(m). First, because Plaintiffs

cannot state a claim on these elements, see supra Part I,

they cannot support class allegations.

    Second, as to proximate cause and the separate required

element of injury (which Plaintiffs do not mention),

Plaintiffs ignore the significant individualized inquiries

required. The inquiries would overwhelm any basic common

questions on duty. See Stein, 360 N.C. at 331, 626 S.E.2d

at 269.

    Circumstances will vary widely for each hypothetical

class member. For each, the Court will need to consider,

among other things:

          whether the individual was arrested or detained;

          the circumstances of that arrest or detention,

           including which state actors or agencies

           participated;

          the length of the arrest or detention;


                                 -28-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 35 of 45
        whether the arrest or detention and its length

          were justified;

        when the basis for detention ended;

        whether the individual was detained after the

          basis for detention ended, and if so, for how

          long;

        whether information in the eCourts system led to

          any improper arrest or detention; and, if so,

            o what information was entered into the system,

            o by whom,

            o whether there were any errors in that data

               entry, and

            o whether the design or functionality of the

               eCourts system, in a way attributable to

               Tyler, contributed to the alleged injury.

These are all individualized inquiries that are not subject

to class treatment. See Kirkman v. N. Carolina R.R. Co.,

220 F.R.D. 49, 52-53 (M.D.N.C. 2004).

    Likewise, as Plaintiffs’ own allegations illustrate,

their claims lack typicality because each arrest or

detention turns on a unique set of facts involving distinct

legal inquiries. See supra Part I.B. Indeed, there is no


                                 -29-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 36 of 45
typicality even between the named Plaintiffs within each

class. See id.

    Within the “Wrongful Arrest Class,” some Plaintiffs

allege wrongful arrests and detentions of different lengths

resulting from vaguely alleged courses of conduct, see

SAC ¶¶ 128-37, 142-44, 172-77, 180-85; others allege

wrongful arrests and detentions resulting from warrants

issued – and allegedly dissolved – long before either the

eCourts system was implemented in North Carolina or any of

the alleged harm occurred, see SAC ¶¶ 190-200, 216-19, 224-

27; and others allege wrongful arrests and detentions

arising from various clerical errors, see SAC ¶¶ 151-57,

164-67.

    The same is true of the “Overdetention Class,” which

only includes Castellanos and the Mecklenburg County

Plaintiffs Fields, Nunez, and Hayward. See SAC ¶ 229. The

Mecklenburg County Plaintiffs allege that they were

detained for processing for unidentified reasons, see

SAC ¶¶ 101-25, while Plaintiff Castellanos alleges he was

unlawfully detained because state actors failed to digitize

his records and ensure his release orders were “properly

effectuated,” SAC ¶ 313.


                                 -30-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 37 of 45
    Separately, any damages for all hypothetical class

members would vary based on whether they were arrested or

detained, the length of detention, and what damages (if

any) they sustained because of the arrest or detention. In

such a circumstance, Plaintiffs cannot satisfy the

typicality requirement. See Kirkman, 220 F.R.D. at 52-53.

    These Plaintiffs have different claims, interests, and

injuries. Thus, even comparing their own situations, their

claims and circumstances lack commonality and typicality.

    B.    Plaintiffs cannot meet the more stringent Rule
          23(b)(3) requirements.

    Even if Plaintiffs could satisfy Rule 23(a), they

cannot – and will never be able to – satisfy the more

stringent Rule 23(b)(3) requirements.

    A Rule 23(b)(3) class is appropriate only if common

questions “predominate over any questions affecting only

individual members” and “a class action is superior to

other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

This “requirement is far more demanding than Rule 23(a)’s

commonality requirement and tests whether proposed classes

are sufficiently cohesive to warrant adjudication by

representation.” Gariety v. Grant Thornton, LLP, 368 F.3d

                                 -31-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 38 of 45
356, 362 (4th Cir. 2004) (cleaned up). “That inquiry trains

on the legal or factual questions that qualify each class

member’s case as a genuine controversy.” Amchem Prod., Inc.

v. Windsor, 521 U.S. 591, 623 (1997); Wright & Miller, 7AA

Fed. Prac. & Proc. Civ. § 1778 (3d ed.) (collecting cases).

    In the Fourth Circuit, common issues cannot predominate

when issues like causation, injury, and damages require

individualized inquiries. See Thorn v. Jefferson-Pilot Life

Ins. Co., 445 F.3d 311, 327-29 (4th Cir. 2006); Parks Auto.

Grp., Inc. v. Gen. Motors Corp., 237 F.R.D. 567, 571-72

(D.S.C. 2006); Abbott v. Am. Elec. Power, Inc., No. 2:12-

CV-00243, 2012 WL 3260406, at *4 (S.D.W. Va. Aug. 8, 2012).

    Here, managing the class action would devolve into a

series of mini-trials. Critically, the injury alleged is

not arrest or detention, but rather arrest or detention

that is unlawful. If the arrest or detention was lawful,

the class member has no claim. The Court will have to

determine this individually for each class member, and

these individualized determinations will overwhelm any

common issues. See Thorn, 445 F.3d at 328-29. There will

thus be no efficiency to proceeding as a class, rather than




                                 -32-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 39 of 45
having individual plaintiffs press whatever claims they may

have. Id.

    The Court will also have to determine, for each

hypothetical class member:

        whether a hypothetical class member’s arrest or

            detention was in any way related to the eCourts

            system;

        whether the arrest or detention was justified

            under the circumstances;

        whether the detainee would have met release

            conditions like having the means and ability to

            post bond;

        what delay, if any, occurred because of an error

            and whether that delay was part of the normal

            detention process; and

        what defendants (or unnamed court officials) were

            responsible for any issues.

Beyond the mini-trials needed to establish liability,

additional individualized inquiries would be needed to

determine the damages (if any) sustained by each class

member.




                                 -33-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 40 of 45
    Commonalities cannot predominate when breach,

causation, damages, and liability apportionment all must be

determined on an individualized basis. Abbot, 2012 WL

3260406, at *4. Rather than burden unlike cases with class

discovery and other delays, courts can adjudicate any suits

individually. To the extent like plaintiffs ever arise,

joinder of those claims would be more appropriate than

certifying indefinite wide-ranging classes. Cf. SAC ¶ 229.

    There is no evidence Plaintiffs could adduce that would

eliminate the need for these individualized, mini-trials.

As a result, there is no need to wait for class discovery

or class certification motions. Because Plaintiffs’ class

claims fail as a matter of law, dismissal of the claims is

warranted now.

                             CONCLUSION

    For all these reasons, Tyler requests that Plaintiffs’

SAC be dismissed as to Tyler with prejudice.




                                 -34-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 41 of 45
 This 9th day of April, 2024.


                              s/ Gregory L. Skidmore
                              Gregory L. Skidmore
                              N.C. Bar No. 35571
                              gskidmore@robinsonbradshaw.com

                              H. Hunter Bruton
                              N.C. Bar No. 50601
                              hbruton@robinsonbradshaw.com

                              Garrett A. Steadman
                              N.C. Bar No. 55449
                              gsteadman@robinsonbradshaw.com


                              ROBINSON, BRADSHAW & HINSON,
                              P.A.
                              101 North Tryon Street, Suite
                              1900
                              Charlotte, North Carolina 28246
                              Telephone: (704) 377-2536
                              Facsimile: (704) 378-4000

                              Attorneys for Defendant Tyler
                              Technologies, Inc.




                              -35-

Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 42 of 45
                    CERTIFICATE OF COMPLIANCE

    Pursuant to Local Rule 7.3(d)(1), I hereby certify that

this brief contains fewer than 6,250 words (not counting

the portions of the brief excluded by Local Rule 7.3(d)(1))

as reported by the word-processing software.

    This 9th day of April, 2024.

                                 s/ Gregory L. Skidmore
                                 Gregory L. Skidmore




                                 -36-

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 43 of 45
                      CERTIFICATE OF SERVICE

    I hereby certify that the foregoing was electronically

filed   using   the    Court’s    e-filing     system,     which    will

automatically and electronically notify the following CM/ECF-

registered counsel of record:



    Gagan Gupta
    ggupta@tinfulton.com

    Abraham Rubert-Schewel
    schewel@tinfulton.com

    Zachary William Ezor
    zezor@tinfulton.com
    Tin Fulton Walker & Owen PLLC
    115 E. Main Street
    Durham, NC 27701
    Telephone: (919) 307-8400

    A. Dami Animashaun
    dami@animashaun.me
    933 South Grand Avenue, Suite 2450
    Los Angeles, CA 90071
    Telephone: (929) 266-3971


    Attorneys for Plaintiffs Timia Chaplin
    And Paulino Castellanos, on behalf
    Of themselves and all others similarly
    Situated


    Robert Lane
    robert.lane@wake.gov
    Wake County Sheriff’s Office
    330 S. Salisbury Street
    Raleigh, NC 27602
    Telephone: (919) 856-5380

                                  37

   Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 44 of 45
 Roger Askew
 roger.askew@wakegov.com
 Senior Deputy County Attorney
 Wake County Attorney’s Office
 P.O. Box 500
 Raleigh, NC 27602
 Telephone: (919) 856-5500

 Attorneys for Defendant Wake County Sheriff
 Willie Rowe


 James R. Morgan Jr.
 Jim.Morgan@wbd-us.com
 Womble Bond Dickinson (US) LLP
 One West Fourth Street
 Winston-Salem, NC 27101
 Telephone: (336)721-3710

 Attorney for Defendant Brian Estes




 This 9th day of April, 2024.


                              s/ Gregory L. Skidmore
                              Gregory L. Skidmore




                               38

Case 1:23-cv-00423-WO-JLW Document 91 Filed 04/09/24 Page 45 of 45
